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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                            :
In re                                                                      Chapter 11
                                                            :
AMERICAN HOME MORTGAGE
 HOLDINGS, INC., a Delaware corporation                     :
 et al., 1
                                                            :              Case Number 07-11047 (CSS)
         Debtors.                                                          (Jointly Administered)
                                                            :

                                        CERTIFICATE OF SERVICE

        I certify that, on April 24, 2008, I caused to be served a copy/copies of the United States
Trustee’s Objection to the Application for an Order Authorizing the Employment of the Law Offices
of Joseph J. Bodnar as Special Delaware Counsel to the Official Committee of Unsecured Creditors
Nunc Pro Tunc as of March 6, 2008 via electronic mail to the persons listed below.

James L. Patton, Esquire                                         Mark S. Indelicato, Esquire
Pauline K. Morgan, Esquire                                       Mark T. Power, Esquire
M. Blake Cleary, Esquire                                         HAHN & HESSEN LLP
YOUNG, CONAWAY,                                                  488 Madison Avenue
 STARGATT & TAYLOR LLP                                           New York, NY 10022
The Brandywine Building                                          (212) 478-7400 (Fax)
1000 West Street, 17th Floor                                     mindelicato@hahnhessen.com
Wilmington, DE 19801                                             mpower@hahnhessen.com
(302) 571-1253 (Fax)
jpatton@ycst.com
pmorgan@ycst.com
mbcleary@ycst.com




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           The Debtors in these cases, along with the last four digits of each debtor’s federal tax identification number,
are: AHM Holdings, Inc. (6303); American Home Mortgage Investment Corp. (“AHM Investment”), a Maryland
corporation (3914); American Home Mortgage Acceptance, Inc. (“AHM Acceptance”), a Maryland corporation (1979);
American Home Mortgage Servicing, Inc. (“AHM Servicing”), a Maryland corporation (7267); American Home
Mortgage Corp. (“AHM Corp.”), a New York corporation (1558); American Home Mortgage Ventures LLC (“AHM
Ventures”), a Delaware limited liability company (1407); Homegate Settlement Services, Inc. (“Homegate”), a New
York corporation (7491); and Great Oak Abstract Corp. (“Great Oak”), a New York corporation (8580). The address
for all of the Debtors is 538 Broadhollow Road, Melville, New York 11747, except for AHM Servicing, whose address
is 4600 Regent Blvd., Suite 200, Irving, Texas 75063.

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Bonnie Glantz Fatell, Esquire                Brett P. Barragate, Esquire
BLANK ROME LLP                               JONES DAY
1201 Market Street, Suite 800                901 Lakeside Avenue
Wilmington, DE 19801                         North Point
(302) 425-6464 (Fax)                         Cleveland, OH 44114
fatell@blankrome.com                         (216) 579-0212 (Fax)
                                             bpbarragate@jonesday.com
Margot B. Schonholtz, Esquire
Mark F. Liscio, Esquire                      Adam G. Landis, Esquire
Scott D. Talmadge, Esquire                   Matthew B. McGuire, Esquire
KAYE SCHOLER LLP                             LANDIS RATH & COBB LLP
425 Park Avenue                              919 Market Street, Suite 600
New York, NY 10022                           Wilmington, DE 19801
(212) 836-8689 (Fax)                         landis@lrclaw.com
mschonholtz@kayescholer.com                  mcguire@lrclaw.com
mliscio@kayescholer.com
stalmadge@kayescholer.com                    Thomas H. Grace, Esquire
                                             W. Steven Bryant, Esquire
Victoria W. Counihan, Esquire                LOCKE LIDDELL & SAPP
Sandra G.M. Selzer, Esquire                  3400 JPMorgan Chase Tower
GREENBERG TRAURIG, LLP                       600 Travis Street, Suite 3400
The Nemours Building                         Houston, TX 77002
1007 North Orange Street                     tgrace@lockeliddell.com
Suite 1200                                   sbryant@lockeliddell.com
Wilmington, DE 19801
(302) 661-7360 (Fax)                         Joseph J. Bodnar, Esquire
counihan@gtlaw.com                           LAW OFFICES OF JOSEPH J. BODNAR
selzers@gtlaw.com                            2101 North Harrison Street
                                             Wilmington, DE 19802
Corinne Ball, Esquire                        jbodnar@bodnarlaw.net
Erica M. Ryland, Esquire
I. Lewis H. Grimm, Esquire
JONES DAY                                             /s/ Joseph J. McMahon, Jr.
222 East 41st Street                                   Joseph J. McMahon, Jr.
New York, NY 10017                                          Trial Attorney
(212) 755-7306 (Fax)
eball@jonesday.com
emryland@jonesday.com
lgrimm@jonesday.com




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